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 9
     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,               No. SA CR 19-00047-JLS

14             Plaintiff,                    STIPULATION AND JOINT REQUEST FOR
                                             A PROTECTIVE ORDER REGARDING
15             v.                            DIGITAL MEDIA; PROPOSED ORDER

16 STEPHEN WILLIAM BEAL,

17             Defendant.

18

19        Plaintiff, United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorneys Mark Takla and
22   Annamartine Salick, and defendant Stephen William Beal
23   (“defendant”), by and through his counsel of record, Deputy Federal
24   Public Defender Amy Karlin, (collectively the “parties”), for the
25   reasons set forth below, hereby stipulate, agree, and request that
26   the Court enter a protective order in this case restricting the use
27   and dissemination of the specific information identified below
28   pursuant to Federal Rule of Criminal Procedure Rule 16(d)(1).
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 1              Defendant STEPHEN WILLIAM BEAL is currently charged in an

 2   indictment with violations of the following offenses: 18 U.S.C.

 3   § 2332a(a)(2) (Use of a Weapon of Mass Destruction Resulting in

 4   Death); 18 U.S.C. § 844(i) (Malicious Destruction of a Building

 5   Resulting in Death); 18 U.S.C. § 924(c) (Use of a Destructive Device

 6   During and in Relation to a Crime of Violence); and 26 U.S.C.

 7   § 5861(d) (Possession of an Unregistered Destructive Device).             The

 8   government began producing discovery to defendant at his initial

 9   appearance on February 6, 2019.       In addition to investigative

10   reports and records, the government provided to defense counsel

11   forensic images of 19 digital devices and information associated

12   with five social media accounts operated by defendant.           Discovery is

13   on-going and the parties have been in frequent communication to

14   facilitate the process.

15              The government is in possession of 84 digital devices and

16   e-mail and social media accounts belonging to persons other than

17   defendant for which the parties hereby seek a protective order, (the

18   “PROTECTED INFORMATION”).      For the purpose of this protective order

19   the PROTECTED INFORMATION includes the digital devices and accounts

20   themselves, images or copies of the devices and accounts, and

21   information obtained from the devices and accounts, including notes

22   made while reviewing the devices and accounts.          A complete list of

23   the PROTECTED INFORMATION is attached as Exhibit 1 and incorporated

24   herein by reference.

25              The PROTECTED INFORMATION contains Personal Identifying

26   Information (“PII”) of real persons other than defendant, including,

27   among other things, personal names, addresses, Social Security

28   numbers, and bank account numbers.         The PROTECTED INFORMATION also

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 1   contains information that the operators consider sensitive and

 2   private.   Accordingly, the parties jointly request a protective

 3   order that will permit the government to produce discovery that is

 4   unredacted but preserves the privacy and security of victims and

 5   third parties by placing limitations on defendant’s access to the

 6   discovery without the defense team present.

 7              The parties agree that the following conditions, if

 8   ordered by the Court in the proposed protective order (the

 9   “Protective Order”), will serve compelling interests in maintaining

10   the privacy and security of victims and third parties while

11   permitting the defense to understand the government’s evidence

12   against this defendant:

13              a.    For purposes of the Protective Order, the term

14   “defense team” refers to (1) defendant’s counsel of record,

15   (2) other attorneys at defense counsel’s law firm who may be

16   consulted regarding case strategy in the above-captioned matter,

17   (3) defense investigators who are employed by defense counsel or

18   retained by defense counsel pursuant to a contract with this case,

19   (4) retained experts or potential experts, and (5) paralegals, legal

20   assistants, and other support staff to defendant’s counsel of record

21   providing assistance on this case -- all of whom have been advised

22   of their obligations under the Protective Order and have affirmed to

23   defendant’s counsel of record that they agree to be bound by the

24   terms of the Protective Order.       The term “defense team” does not

25   include defendant, his family members, or any other associates of

26   defendant.

27              b.    Defendant’s counsel of record agrees to advise all

28   members of the defense team of their obligations under the

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 1   Protective Order and ensure their agreement to follow the Protective

 2   Order, prior to providing members of the defense team with access to

 3   any materials subject to the Protective Order.

 4              c.    The government is authorized to provide defendant’s

 5   counsel of record with the PROTECTED INFORMATION marked with the

 6   following legend: “CONTENTS SUBJECT TO PROTECTIVE ORDER.”            If

 7   defendant objects to any such designation, he may do so by

 8   application to the Court upon duly noticed motion, following meeting

 9   and conferring with the government regarding the objection.

10              d.    The PROTECTED INFORMATION will be made available for

11   the defense team’s review at a physical location belonging to the

12   Federal Bureau of Investigations (“FBI”) or the U.S. Attorney’s

13   Office (“USAO”).    Should defendant wish to be present for the

14   defense team’s review of the PROTECTED INFORMATION, the parties

15   shall arrange for defendant’s presence in an FBI or USAO location.

16              e.    Defendant may review the PROTECTED INFORMATION in

17   this case only in the presence of a member of the defense team, and

18   his counsel of record shall ensure that defendant is never left

19   alone with, any discovery subject to the Protective Order.

20   Defendant may see and review the PROTECTED INFORMATION in the

21   presence of a member of the defense team, but defendant may not

22   copy, keep, maintain, or otherwise possess any PROTECTED INFORMATION

23   in this case at any time.      Defendant must return all PROTECTED

24   INFORMATION to the defense team at the conclusion of any meeting at

25   which defendant is permitted to view the PROTECTED INFORMATION.

26   Defendant may not take the PROTECTED INFORMATION out of the room in

27   which he is meeting with the defense team.         Defendant may not write

28   down or memorialize any PII contained in the PROTECTED INFORMATION.

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 1   At the conclusion of any meeting with defendant, the member of the

 2   defense team present shall take with him or her the PROTECTED

 3   INFORMATION.     At no time, under no circumstance, will any PROTECTED

 4   INFORMATION be left in the possession, custody, or control of

 5   defendant, whether he is incarcerated or not.

 6               f.    The defense team shall not permit anyone other than

 7   the defense team to have possession of the PROTECTED INFORMATION,

 8   including defendant himself.

 9               g.    The defense team shall access and use the PROTECTED

10   INFORMATION for the sole purpose of preparing for trial or any

11   related proceedings in this case.          The defense team may review the

12   PROTECTED INFORMATION with a witness or potential witness in this

13   case, including defendant.      Before being shown any portion of the

14   PROTECTED INFORMATION, however, any witness or potential witness

15   must be informed of, and agree in writing to be bound by, the

16   requirements of the Protective Order.         No witness or potential

17   witness may retain the PROTECTED INFORMATION, or any copy thereof,

18   after his or her review of those materials with the defense team is

19   complete.

20               h.    The defense team shall maintain the PROTECTED

21   INFORMATION safely and securely, and shall exercise reasonable care

22   in ensuring the confidentiality of those materials by (1) not

23   permitting anyone other than defense team members and defendant as

24   restricted above to see the PROTECTED INFORMATION, (2) not divulging

25   to anyone the contents of the PROTECTED INFORMATION, and (3) not

26   permitting the PROTECTED INFORMATION to be outside the defense

27   team’s offices, homes, vehicles, or personal presence.

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 1              i.    To the extent that notes are made that memorialize,

 2   in whole or in part, any PROTECTED INFORMATION or to the extent that

 3   copies are made for authorized use by members of the defense team,

 4   such notes, copies, or reproductions become PROTECTED INFORMATION

 5   subject to the Protective Order and must be handled in accordance

 6   with the terms of the Protective Order.

 7              j.    The defense team shall use the PROTECTED INFORMATION

 8   only for the litigation of this matter and for no other purpose.

 9   Litigation of this matter includes any appeal filed by defendant and

10   any motion filed by defendant pursuant to 28 U.S.C. § 2255.

11              k.    In the event that a party needs to file the PROTECTED

12   INFORMATION with the Court or divulge the contents of such materials

13   in court filings, the filing shall be made under seal.           If the Court

14   rejects the request to file such information under seal, the party

15   seeking to file such information shall provide advance written

16   notice to the other party to afford such party an opportunity to

17   object or otherwise respond to such intention.          If the other party

18   does not object to the proposed filing, the party seeking to file

19   such information shall redact the PROTECTED INFORMATION and make all

20   reasonable attempts to limit the divulging of the PROTECTED

21   INFORMATION.

22              l.    In the event a party identifies the PROTECTED

23   INFORMATION that the party seeks to introduce at a public hearing or

24   at trial, the party will identify the specific item of the PROTECTED

25   INFORMATION to the adverse party.          The parties will then work

26   diligently to find an appropriate means of introducing the PROTECTED

27   INFORMATION in a public setting.       If the parties cannot agree, the

28   party seeking to introduce the PROTECTED INFORMATION shall file a

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 1   motion under seal that specifies the relief sought and the adverse

 2   party’s position.

 3              m.    The parties also agree that any PROTECTED INFORMATION

 4   produced in the course of discovery in the above-captioned matter

 5   prior to the date of the Protective Order shall be subject to the

 6   terms of the Protective Order.

 7              n.    Upon the final disposition of this case, any

 8   PROTECTED INFORMATION and materials otherwise identified as

 9   containing the PROTECTED INFORMATION shall not be used, in any way,

10   in any other matter, absent a court order.         All materials designated

11   subject to the Protective Order maintained in the defense team’s

12   files shall remain subject to the Protective Order unless and until

13   such order is modified by court order.        Within thirty days of the

14   conclusion of appellate and post-conviction proceedings, the defense

15   team shall return the PROTECTED INFORMATION and materials otherwise

16   identified as containing PII to the government, certify that such

17   materials have been destroyed, or certify that such materials are

18   being kept pursuant to the Business and Professions Code and the

19   Rules of Professional Conduct.

20              o.    In the event that there is a substitution of counsel

21   prior to when such documents must be returned, new defense counsel

22   must join this Protective Order before any PROTECTED INFORMATION or

23   materials otherwise identified as containing the PROTECTED

24   INFORMATION may be transferred from the undersigned defense counsel

25   to the new defense counsel, who then will become the defense team’s

26   custodian of materials designated subject to the Protective Order

27   and who shall then become responsible, upon the conclusion of

28   appellate and post-conviction proceedings, for returning to the

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 1   government, certifying the destruction of, or retaining pursuant to

 2   the Business and Professions Code and the Rules of Professional

 3   Conduct all PROTECTED INFORMATION and materials otherwise identified

 4   as PROTECTED INFORMATION.

 5              Defense counsel has conferred with defendant regarding

 6   this stipulation and the proposed order thereon, and defendant

 7   agrees to the terms of the proposed order.

 8              Accordingly, the parties have agreed to request that the

 9   Court enter a protective order in the form submitted herewith.

10        IT IS SO STIPULATED.

11        DATED: June 13, 2019                  NICOLA T. HANNA
                                                United States Attorney
12
                                                PATRICK R. FITZGERALD
13                                              Assistant United States Attorney
14                                              Chief, National Security Division

15
                                                _________________________
16                                              MARK TAKLA
                                                ANNAMARTINE SALICK
17                                              Assistant United States Attorneys
18
                                                Attorneys for Plaintiff
19                                              UNITED STATES OF AMERICA

20
          DATED: June 13, 2019                  /s/ by email authorization
21                                              AMY KARLIN
                                                RICHARD NOVAK
22                                              Attorneys for Defendant
                                                STEPHEN WILLIAM BEAL
23

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              Exhibit 1
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 1
                 1B Number 1r    Numerical Identifier/Description
 2

 3
                N/A              Facebook: 1520686543
                                 One (1) Western Digital Hard Drive; S/N:
 4
                                 WCC1T1084338; containing case archive
 5              1B54             ORCC022973, ORC022974 and ORC022975 /
 6                               Field staging media containing image files
                                 from search
 7
                                 One (1) Verizon Motorola cell phone, MEID:
                1B221
 8                               A00000E3AAE7C
 9                                One (1) Apple iPhone 7 256g,
10              1B220            DNPS98FSHG7V in orange Michael Kors
                                 case *HAZMAT
11
                                 One (1) iPad A1455, F4KJH23HF19M, in
                1B224
12                               purple case with charging cord.
13                               Scene C, Room G, Grid G3: One (1) iPhone
                1B222
14                               A1303 (iPhone 3GS) in white case

15              1B293            One (1) CinQ Mondes thumb drive
16

17              1B349            Two (2) flash drives, San Disk DTGE9
18

19              1B317            One (1) Sims card removed from wallet
20                               One (1) MacBook Pro Laptop, Model A1278;
                1B53
21                               S/N: C17FP92BDH2G
22              1B42             One (1) iPhone 8;S/N F17VMC8HJCLQ
23
                1B41             One (1) iPhone 10; S/N: C38VQ6QWJCLH
24                               One (1) Apple iPad, Model A1459; S/N:
                1B37
25                               DMPJLQATF189
26

27
          1 The FBI assigns most digital media a unique 1B number for
28   internal tracking purposes.

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 1                               One (1) LG Cell Phone; S/M:
                1B36
 2                               611VTMV337823
                                 One (1) LG Cellular Phone; S/N:
 3              1B20
                                 711VTZC568701
 4
                N/A              HP Envy DV7 Laptop S/N:2CE24519YP
 5

 6                               Apple iCloud Data: Kesu USB 3.0 500GB
                N/A              Hard Drive; Stephen@bealfamily.net;
 7
                                 hermes6969@icloud.com
 8
                1B218             One (1) Black Dell Tower, S/N 3PPYPB1
 9              1B217             One (1) LG Tower, no serial #
10              1B216            One (1) black LG Tower, S/N TDR9044
                                 One (1) iPhone 3G; Model A1241; FCC ID:
11              1B19
                                 BCGA1241;
12
                                 One (1) iPhone, 2007, Model A1203; IMEI:
                1B13
13                               011301005826804
                                 One (1) iPhone, Model A1549;
14              1B12
                                 IMEI:358373067365303
15
                                 One (1) iPhone, Model A1429; IMEI:
                1B11
16                               990002276301817
17                               iPhone 4S
18              1B286            One (1) iPhone, model A1387, FCC ID: BCG-
                                 E2Y30A
19
                1B283            2 GB sandisk thumb drive
20                               Vodafone sim card, S/N
                1B225
21                               8936703155131815811
22
                1B647            SIM card 890140427 0649378139
                                 Black Samsung flip phone, model SGH-A157,
23              1B525
                                 Phone number 949-632-8475
24                               Western Digital My Passport -
                1B672
25                               WXB1A47ANXTD
26              1B523            Garmin Nuvi 1390 GPS with cord
27

28

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 1                               Rose Gold iPad, S/N F9FT2352HP61; square
 2              1B361            electronic point of sale device, S/N:
                                 707GS089001649
 3
                                 Partial cell phone and pieces of cell phone
                1B367
 4                               (iPhone X) - "LF BH1237"
 5              1B309             One AT&T sim card
                                  Two (2) HP Invent compact dics, cd-r
 6
                1B306
                                 52x700MG/80min
 7
                                 Sonos Speaker, S/N: 111000-DE-58-78-6A-
                1B295
 8                               08-A
 9                                Sonos speaker, S/N 110900-OE-58-88-91-
                1B294
10                               EO-F and extension cord
                                 Disc labeled "Spa Boop 45:00 Spa
11              1B287
                                 Tranquility"
12              1B223            Green circuit board
13              1B52              IBM Thinkpad Laptop; S/N MP-05W05N
14              1B51             IBM Thinkpad; S/N: L3-A124
                1B50             Compact Discs
15
                1B49             Cannon HD Video Camera CMOS
16              1B48              Sony 32GB Memory Card
17              1B47              One (1) Seagate Hard Drive
18              1B46             One (1) Memorex Traveldrive
19
                                  One (1) Sony Handycam, Model DCR-
                1B43             DVD203; S/N: 371945, in bag with 15 mini
20                               DVDs
21              1B40              One (1) Toshiba Laptop; S/N: X7087802R
22              1B39             One (1) Data Traveler 28GB Thumb Drive
                                 One (1) Sony 8GB Memory Stick; Magic
23              1B38
                                 Gate
24              1B35             One (1) Toshiba Laptop; S/N: 38262009K
25                               One (1) ACER Laptop; S/N:
                1B34
26
                                 LXR4G020600331ABC91601
                                 One (1) Allenware Laptop, Model 5620D;
27              1B33
                                 S/N: NC562D2K02255
28              1B32             One (1) Fujitsu Laptop; S/N: R4500694
                                            12
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 1                               One (1) Apple MacBook Pro, Model A1278;
                1B31
 2                               S/N: W89490V266H
                                 One (1) IBM Thinkpad; FCC ID:
 3              1B30
                                 AND9611TB00N
 4
                                 One (1) Seagate External Hard Drive; S/N:
                1B29
 5                               5RF089YV
                                 Seven (7) Sony Memory Sticks in purple
 6
                1B28
                                 case
 7
                1B27              One (1) Aiptek Portable Media Player
 8
                1B26             One (1) DVD-R; Sony 1.4GB "Accucore"
 9              1B25             One (1) Disc - Verbatim 700MB
                                 Eleven (11) Discs; 10 HP "Invent" DVD+R, 1
10
                1B24
                                 Memorex CD-RW
11
                1B23             One (1) Seagate Hard Drive; A9505030009
12
                                 One (1) Seagate Barracude Hard Drive -
                1B22
13                               2000GB
14              1B21             IBM Hard Drive; P/N #46H6123
                1B18              One (1) USB Thumb Drive
15
                                 One (1) Acer Laptop; FCC ID: MCLT77H462,
                1B17
16                               with cord
17                               One (1) Apple MacBook Pro; S/N:
                1B16
18                               C17FP1JQDHDH2G, with cord
                                 One (1) Lenovo Thinkpad; S/N: MP-05-
19              1B15
                                 VYUD14106, with cord
20                               One (1) External Hard Drive, "My Passport",
                1B14
21                               S/N: WXL1A56DS00N
22              1B10             Four (4) US Thumb Drives
                1B9              One (1) Blue Memory Card
23
                                 One (1) iPad, Model 1219; S/N
                1B8
24                               D30514NFZ38
25
                1B7              One (1) Fujifilm Discovery Camera; 4307093
26
                                 One (1) iPod, Model A1137; S/N:
27              1B6
                                 YM6238VWTK2
28

                                            13
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 1                               One (1) Powershot; No: 672031001721;
 2              1B5              with 32 GB memory card and 16 GB
                                 memory card in black bag
 3
                                 One (1) Dell Laptop; FCC ID: QDS-
                1B4
 4                               BRCM1028
 5              1B3              One (1) Dell Laptop, FCC ID: E2K24GBRL
                                 One (1) Compaq Laptop, S/N: 00196-152-
 6
                1B2
                                 522-536
 7
                                 One (1) iPad, Model A1430; S/N
                1B1
 8                               DKVJF0GYDVGM
 9                               (U) Two Hard Drives:
10              1B742            Fujitsu (S/N: K432T8126U00)
                                 Seagate (S/N: 5VJ6XDFY)
11
                                 ASUS Laptop (S/N: D9N0BC13114137H) and
12              1B712
                                 Charging Cable
13

14              N/A              Samsung Galaxy S-9

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